Case 2:05-Cr-20273-BBD Document6 Filed 07/25/05 Pagelon F><'Jige||§;i5

UNITED sTATES DISTRICT CoURT 350 BY-“

WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUL 25 hi 29

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-VS- Casvgw T§':MZB-D

UNITED STATES OF AMERICA

GENE LEACH

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT
~ All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this 213t day of July, 2005.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

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This document entered on the docket shea n
w|th Fiule 55 and/or Sz{b) FHCrP on

UNITED sTAsTE DISTRICT COURT - WETERN DISTRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of` the document docketed as number 6 in
case 2:05-CR-20273 Was distributed by f`aX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

